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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            4:05CR3116-2
                                               )
              Plaintiff,                       )
                                               )
vs.                                            )            ORDER
                                               )
URIEL HERNANDEZ RUIZ,                          )
                                               )
              Defendant.                       )

       Today I held a status conference with counsel at the request of the prosecutor.
Government’s counsel represented that the defendant had cut off his ankle bracelet, thus
violating his conditions of pretrial release and was arrested during a traffic stop in Wisconsin.
The defendant is scheduled for an initial appearance on a pretrial release violation today in
Wisconsin and the government advises that it will be unable to secure the defendant’s
presence for trial on Monday. Therefore, the government requests a continuance of trial.
Since the defendant was on pretrial release and thus able to attend trial had he not been
arrested, the government’s request for a continuance is reasonable. Accordingly,

      IT IS ORDERED that this case is continued until June 12, 2006, as the number one
criminal case. The time between today’s date and June 12, 2006 is excluded for computation
purposes under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(i)(G)(H)&(8)(A)(B).

       April 19, 2006.                              BY THE COURT:

                                                    s/ Richard G. Kopf
                                                    United States District Judge
